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AFFIDAVIT OF GREGORY BR()WN
I? Detective Gregory Brown, being first duly sworn, hereby depose and state as follows:
INTRODUCTION AND BACKGROUND
l. I am a Detective with the Boston Police Department (“BPD”) where I have Worked
for over 30_years. I am currently assigned to BPD’s Special Investigations Unit- (“SIU”), WhereI '
have worked for over 10 years.1 SI[J is a citywide unit made up of Detectives and other
investigators who regularly work With units throughout BPD and as task Force Ofiicers (“TFO”)
with federal investigative agencies such as the F ederal Bureau of Investigation (“FBI”)
investigating drug, iirearm, racketeering and other crimes being committed by street gangs and
other criminal organizations operating in and around the City of Boston. ` j
2; During my tenure at BPD, I have been involved in investigations relating to a wide
Variety of suspected criminal activity, including the illegal distribution of narcotics, firearms~
related offenses and violent crimes. Sinc_e March 2016, I have participated in joint operations
with the FBI investigating drug and firearm trafficking in and around the City of Boston.
' 3. l have received training in enforcement and investigation of firearm and narcotics '
cases.l I have conducted and participated in investigations involving the Violation of both the
federal drug and firearms laws, including 18 U.S.C. § 922(g)(l) -~ being a felon in possession of a

firearm or ammunition, and 21 U.S.C. §§ 841 and 846 -- illegal distribution and possession With

 

‘ Prior _to my assignment to SIU, l was an investigator in the Youth Violence Strike Force
_ (“YVSF”) from 1995 to 2007 and I was assigned to the Anti-Gang Violence Unit from March
1993 to May 1995. My primary duties as an investigator in these units were to identify Boston
based street gangs, document their membership and gather intelligence relative to gang activity.
I also worked in partnerships with other law enforcement and community based agencies to initiate
procedures to disrupt the organizational structure and reduce the criminal activities of these gangs.

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intent to distribute controlled substances and conspiracy to distribute and possession with intent to
distribute controlled substances f
4. l have participated in the investigation described in detail below. During it, I have
conducted surveillance, provided intelligence and participated in the preparation and debriefing of
the cooperating witness used to purchase the firearm. l have reviewed reports prepared by other
. investigators, and discussed individual investigations with other FBl and BPD investigators
l3ecause of my personal participation in these investigations, my conversations with other law
enforcement officers, and review of reports prepared by other ofiicers, I am familiar with them.
` This affidavit is intended to show'merely that there is sufficient probable cause for the requested
complaint and accompanying arrest warrant and does not set forth all of my knowledge about this
matter.
5 . Based on my training and experience, I know that it is a violation of 18_ U.S.C. §
922(g) for a person having been convicted in a court of a crime punishable by`imprisonment for a
term exceeding one year, to knowingly possess in and affecting commerce, a firearm and
ammunition As set forth below, there is probable cause to believe that orr August 27, 2017, at
Boston, and elsewhere in the District of Massachusetts, Arrdre GALLE'_I`TE, violated 18 U.S.C. §
922(g), having'previously been convicted in a court of a crime punishable by imprisonment for a
term exceeding one year, did knowingly possess in and affecting commerce,‘ a Hrearm` and
ammunition, to wit: one (1) black colored Action Arms, Ltd Mac-ll semi-automatic handgun,
Model A Para 9mm, bearing serial number S_A 19698;. and sixteen (l 6) live rounds of 9mm

ammunition

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'6. In the summer of 2016, a cooperating witness (“CW~l” 2 informed investigators
that CW-l could purchase a firearm from an individual known to CW~l as “Dre.”

7. “Dre” was later identified as A_ndre GALLETTE (“GALLETTE”), date of birth
XX/XX/l 960, a fiRy~seven year old male who resides at 81 Highland Avenue, Boston,
Massachusetts A Massachusetts Board of Probation and Interstate Identiiication Index check ,
indicates GALLETTE has a lengthy criminal history including an open Suffolk Superior Court
case charging him with possession to distribute a class B (cocaine) controlled substance,
trafficking a class B (cocaine) controlled substance, three (3) counts of distribution of a class B
(cocaine) controlled substance, and money'laundering. - GALLETTE also has convictions for
numerous felonies that carry penalties exceeding one year in prison, such as, trafficking a class B
(cocaine) controlled substance (December 2015) for which he was sentenced to .l year in custody
suspended for two years, possession with the.intent to distribute a class A (heroin) controlled
substance in a school zone andpossession with the intent to distribute a class B (cocaine) controlled
substance in a school zone (January 2009) for which he served 2` years in custody, carrying a
dangerous weapon (December 2007) for which he served 90 days in custody, trafficking in a class
B (cocaine) controlled substance in a school zone prril 2003)` for which he served four (4) years
in custody, knowingly receiving stolen property (October 1997) for which he served 43 days in
custody, possession with intent to distribute class B (cocaine) and two (2) counts of assault and

battery on a police officer (July 1994) for which he served two years in custody, and possession

 

2 CW-l began cooperating with law enforcement in March 2016, CW-l has a criminal
history including arrests for firearms offenses, drug offenses, larceny offenses, and crimes of
violence. I consider the information provided by CW-l to be reliable. CW-l is cooperating with
law enforcement to receive financial compensation '

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With intent to distribute class B (cocaine) (April 1994) for which he served two (2) years in custody,

A. August 27, 2018 Controlled Purchase l

8. On August 26, 2017, CW~l placed three phone calls to GALLETTE over 617~642~
5574 (the “GALLETTE Phone”), during .which CW~l agreed to purchase a “Mac-l 1” firearm for
$1000 the following morning

9. On August 27, 2017, CW-l made a phone call to GALLETTE on the GALLETTE.
Phone, who continued that the firearm would be sold with bullets, and said that he would call CW-
l back. Approximately twenty minutes later, CW-l received a call from GALLETTE, who
confirmed that.the price of the firearm would be $1000, and the parties agreed to meet at the
intersection of Fayston Street and Mascoma Street in fifteen (15) minutes. Investigators gave
CW-l $1000 in Official Agency Funds '(“GAF”), and CW-l ’s vehicle and person were searched,-
CW-l was provided with a transmitter, audio and/or video recording equipment, and Official
Advance Funds (“OAF”) with which to make a firearm purchase, and surveilled to Fayston Street.
lnvestigators were able to live-monitor the transaction through the transmitter.

lO. Once CW-l pulled up to Fayston Street, a red Hyundai Accent, bearing MA
registration 7R_H744, and registered to Hertz Rentals (the “Hyundai”), pulled over at 22 Fayston
Street, CW-l approached the driver’s side of the Hyundai and spoke with GALLETTE, after
which CW-l and GALLETTE entered 22 Fayston Street and proceeded to an apartment on the
second floor. Inside the apartment, an unknown male (“UNSUBI”) presented the firearm for
CW-l ’s inspection. CW-l handed $1000 OAF to GALLETTE, who then handed it to UNSUBl.
CW;l and GALLETTE exited the apartment and building together, with CW-l carrying the

' firearm, magazine and ammunition in a black backpack. GALLETTE, then entered the Hyundai

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and left the area. CW-l left the area and drove back to the predetermined meeting location where
CW-l turned the iirearm, magazine, and ammunition over to investigators .
1 l. The firearm was examined and identified as a black colored Action Arms, Ltd Mac-
ll semi-automatic handgun, Model A Para 9mm, bearing serial number SA 19698; and sixteen
(16) live rounds of 9mm ammunition that was sold in Tulsa, Oklahoma, and therefore, travelled in
interstate commerce h
12. Based on the above, I believe probable cause exists that on August 27, 2017, at
Boston, and elsewhere in the District of Massachusetts, Andre GALLETTE, violated 18 U.S.Cl §
922(g), having previously been convicted in a court of a crime punishable by imprisonment for a
'terrn exceeding one year, did knowingly possess in and affecting commerce, a firearm and
ammunition, to wit: one (1) black colored Action Arms, Ltd Mac-ll semi-automatic handgun,
Model A Para 9mm, bearing serial number'SA l 98; and sixteen (16) live rounds-of 9mm

. ammunition

 

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Boston Police Department,
Special Investigations Unit

 

